     IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT
                OF TENNESSEE AT GREENEVILLE. TENNESSEE


 TINA NORRIS, MELISSA BLEVINS and          *
 APRIL YARBER, surviving children and next *
 kin of TERESA NORRIS; and APRIL YARBER*
 Administrator of the Estate of TERESA     *
 NORRIS,                                   *
                                                      A

                               Plaintiffs,
                                   *
                                   *
vs.                                * Case No.
                                   *
MOUNTAIN STATES HEALTH ALLIANCE, *
d/b/a THE TRANSPLANT CENTER at     *
JOHNSON CITY MEDICAL CENTER;       * JURY DEMANDED
BLUE RIDGE MEDICAL MANAGEMENT      *
CORPORATION, d/b/a BLUE RIDGE      *
SURGICAL ASSOCIATES; JOSEPH LEE,   *
M.D.; and JON JONES, M.D.,         *
                                   *
                       Defendants. *


                                             COMPLAINT


 1. Teresa Norris, deceased, was a citizen and resident of Smyth County, Virginia. She died at

 Johnson City Medical Center in Johnson City, Tennessee on November 12, 2011.



 2. Plaintiffs, Tina Norris, Melissa Blevins and April Yarber are surviving children and next kin

 of Teresa Norris. April Yarber is also the administrator of the Estate of Teresa Norris.



 3. Plaintiffs bring this action for the injuries and damages suffered by Teresa Norris during her

 lifetime and for her wrongful death caused by the negligence of the Defendants. Plaintiffs bring




Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 1 of 9 PageID #: 1
this action for the benefit of themselves and/or the Estate of Teresa Norris and for the benefit of

their brother, John Norris, surviving son of Teresa Norris.



4. Plaintiffs, Melissa Blevins and April Yarber, are citizens and residents of Virginia. Plaintiff

Tina Norris, is a citizen and resident of Kentucky. John Norris is a citizen and resident of

Virginia. The Estate of Teresa Norris is being administered in the State of Virginia.



5. Defendant Mountain States Health Alliance (hereinafter "MSHA") is a Tennessee corporation

with its principal place of business in Johnson City, Tennessee. MSHA does business as and

owns and operates Johnson City Medical Center, a hospital in Johnson City, Tennessee

(hereinafter "JCMC"). MSHA is a resident of Tennessee.



6. MSHA formerly owned and/or operated The Transplant Center at Johnson City Medical

Center (hereinafter "The Transplant Center").



7. The Transplant Center was located in Johnson City, Tennessee. It closed in 2011.



8. Defendant Blue Ridge Medical Management Corporation is a Tennessee corporation with its

principal place of business located in Johnson City, Tennessee. This Defendant owns, operates

or manages several medical practices including Blue Ridge Surgical Associates located in

Johnson City, Tennessee. Blue Ridge Medical Management Corporation and Blue Ridge

Surgical Associates are jointly referred to herein as "Blue Ridge". Blue Ridge is a resident of

the State of Tennessee.



Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 2 of 9 PageID #: 2
9. Defendant Joseph Lee, M.D. (hereinafter referred to as "Dr. Lee") is a medical doctor licensed

to practice in the State of Tennessee who practices medicine in Johnson City, Tennessee.

Plaintiffs aver that Dr. Lee is a citizen and resident of Tennessee.



10. Defendant Jon Jones, M.D. (hereinafter referred to as "Dr. Jones") is a medical doctor who

formerly practiced medicine in Johnson City, Tennessee but is now practicing medicine in the

State of New Jersey. Upon information and belief Plaintiffs aver that Dr. Jones is a citizen and

resident of New Jersey.



11. There is diversity of citizenship in this case and this Court has jurisdiction pursuant to 28

U.S.C. §1332 (a). The amount in controversy exceeds $75,000.



12. This Court is the proper venue for this case pursuant to 28 U.S.C. §1391 (a).



13. Each of the Defendants in this case has been given timely notice of this healthcare liability

action pursuant to the provisions of T.C.A. §29-26-121. Copies of the notice letters and proof of

service are attached to this Complaint. Also attached are the Affidavits of Attorney John S,

Bingham regarding the mailing and service of the notice letters.



14. This is a meritorious claim. A Certificate of Good Faith required by T.C.A. §29-26-122 is

being filed simultaneously with this Complaint and is attached hereto.




Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 3 of 9 PageID #: 3
 15. Teresa Morris was a patient of The Transplant Center and Drs. Lee and Jones. On June 7,

2009 she had a kidney transplant performed by Dr. Jones at JCMC. After the transplant her

follow-up medical care and treatment, including medication management, was primarily

provided by The Transplant Center and its physicians, Dr. Lee and Dr. Jones.



 16. In June, 2011, while under the care of The Transplant Center and Drs. Lee and Jones, Teresa

Morris became extremely ill. She was taken to the emergency room at Smyth County Hospital in

Marion, Virginia and was later transferred to JCMC on June 22, 2011. She was not discharged

from JCMC until August 2, 2011 when she was transferred to Select Specialty Hospital in

Bristol, Tennessee. Her discharge diagnosis included toxic metabolic myopathy causing

quadriparesis, aspiration pneumonia, acute respiratory failure requiring ventilation support and

renal failure. Plaintiffs aver that Teresa Morris was also suffering from liver failure.



 17. Teresa Norris spent nearly a month at Select Specialty Hospital where she continued to be

treated for respiratory failure and pneumonia. While at Select Specialty Hospital she was weaned

from the ventilator. On August 30, 2011 she was transferred to Valley Care Nursing Home in

Chilhowe, Virginia.



18. On October 3, 2011 she was admitted to JCMC from the nursing home and treated for sepsis

and anemia. She was discharged from JCMC on October 10, 2011 and was transferred back to

the nursing home.




Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 4 of 9 PageID #: 4
19. Teresa Norris was hospitalized again at JCMC beginning on November 2, 2011 and treated

for sepsis. She died at JCMC on November 12, 2011.



20. Plaintiffs allege that Dr. Lee and Dr. Jones and The Transplant Center were negligent and

deviated from the recognized standards of acceptable professional practice regarding the

treatment and follow up care for kidney transplant patients in Johnson City, Tennessee or in

similar communities and, as a result, Teresa Norris suffered injuries, including death, which

would not have otherwise occurred. They failed to properly prescribe and monitor Teresa Norris'

medications. They failed to properly monitor her condition. They did not appropriately respond

to her laboratory values. They did not make timely diagnoses.



21. On May 31, 2011 Dr. Lee prescribed Cyclosporine to Teresa Norris. He did not discontinue

Crestor or reduce her Crestor dosage. He did not warn Teresa Norris of the potential side effects

of a drug interaction between Crestor and Cyclosporine. This was negligent.



22. Dr. Jones knew that Teresa Norris had been prescribed Cyclosporine and he also knew, or

should have known, that Crestor was not discontinued or that the dosage was not reduced when

she was placed on Cyclosporine. Dr. Jones also failed to discontinue Crestor or reduce the

dosage. Dr. Jones was also negligent.



23. Teresa Norris was first prescribed Leflunomide on December 18, 2009. Dr. Lee and Dr.

Jones both prescribed Leflunomide and/or were aware that Teresa Norris was receiving

Leflunomide. This drug was not stopped until Teresa Norris was hospitalized at JCMC



Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 5 of 9 PageID #: 5
beginning on June 22, 2011. It was negligent to continue to prescribe Leflunomide or at least to

not reduce its dosage.



24. Dr. Jones and Dr. Lee both used Cidofovir multiple times to treat Teresa Morris' BK virus

despite the fact that the use of this drug did not appear to affect viral levels. This was also

negligent.



25. Dr. Lee and Dr. Jones were also negligent for failing to make a sufficient effort to lower

Teresa Morris' overall immunosuppression.



26. Following her admission to the hospital in June, 2011 Dr. Lee and Dr. Jones continued to

have a duty to care for and treat Teresa Morris even though she was in the hospital. Dr. Lee and

Dr. Jones were physicians who worked for or were affiliated with The Transplant Center and

Teresa Morris was a patient of The Transplant Center.



27. Dr. Lee and Dr. Jones were negligent and failed to properly treat and care for Teresa Morris

when she was in the hospital in the summer and fall of 2011. Their negligence includes, but is

not limited to, failure to perform or request a renal biopsy, failure to properly monitor her levels

of immunosuppressive drugs and other drugs, failure to fully investigate the cause or causes of

her infections and failure to evaluate the reason for her elevated troponin levels in June and July,

2011.




Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 6 of 9 PageID #: 6
28. As a result of the negligence of Dr. Lee and Dr. Jones described above in paragraphs 20-27

Teresa Norris suffered from liver damage, kidney damage, rhabdomyolysis and muscle damage.

She also suffered from a multitude of complications caused by or related to the liver damage,

kidney damage, rhabdomyo lysis and muscle damage. She died as a result of one or more of these

conditions and/or complications These injuries and complications required the hospitalizations

and the nursing home care that is referred to above.



29. Neither Teresa Norris nor any of the Plaintiffs herein discovered or learned about any

possible reason for her injuries or illness until late June, 2011, a few days following Teresa

Norris' admission to JCMC.



30. It was not until August or September, 2011 that Plaintiffs and Teresa Norris first learned or

suspected that prescribing Cyclosporine without reducing or discontinuing Crestor was improper

and potentially negligent. Plaintiffs and Teresa Norris had no knowledge or information, nor any

reason to believe or suspect, that any other care or treatment by the Defendants herein or by any

other medical providers was improper or potentially negligent until late September or early

October, 2012.



31. As a result of the negligence of the Defendants Teresa Norris suffered catastrophic injuries

and damages during the last few months of her life. She suffered great pain and emotional

distress beginning in June, 2011 and lasting until her death. She incurred extraordinary medical

expenses. She suffered a loss of her ability to enjoy life.




Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 7 of 9 PageID #: 7
32. Plaintiffs aver that they are entitled to recover damages from the Defendants for their

mother's pain and suffering, her medical expenses and her loss of enjoyment of life. Plaintiffs

also aver that they are entitled to recover additional damages for their mother's wrongful death

including funeral expenses and the pecuniary value of their mother's life including, but not

limited to, the loss of her love, affection, society, advice, counsel and companionship that they

and their brother, John Morris, have suffered,



33. At all times material to this case Dr. Lee and Dr. Jones were agents or employees of Blue

Ridge and were acting within the scope of their employment with respect to their medical

treatment of Teresa Morris.



34. Plaintiffs further aver that Dr. Lee and Dr. Jones were also actual or apparent agents or

employees of MSHA d/b/a/ The Transplant Center and were acting within their actual or

apparent authority as agents or employees when they rendered medical treatment to Teresa

Morris.



35. Blue Ridge and MSHA are vicariously liable for the negligence of Dr. Lee and Dr. Jones.



36. Plaintiffs aver that The Transplant Center was owned by MSHA. On information and belief,

Plaintiffs aver that MSHA, Blue Ridge, Dr. Jones and Dr. Lee were all engaged in a joint venture

to operate The Transplant Center, Each of these Defendants had a common interest and purpose

and right of control with respect to The Transplant Center. Each of these Defendants derived a

mutual benefit from the operation of the joint venture. Each of these Defendants stood in the



Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 8 of 9 PageID #: 8
relation of principal, as well as agent, as to each of the other co-adventurers and, therefore, each

is liable to the Plaintiffs for the negligent acts of the others.



WHEREFORE, Plaintiffs request judgment against the Defendants in the amount of Two Million

Five Hundred Thousand Dollars ($2,500,000) plus Teresa Morris' medical expenses and funeral

expenses. The Plaintiffs request their costs including discretionary costs. Plaintiffs request a

jury.



                                                 RESPECTFULLY SUBMITTED,

                                                 TINA NORRIS, MELISSA BLEVINS and
                                                 APRIL YARBER, surviving children and next
                                                 kin of TERESA NORRIS; and APRIL YARBER
                                                 Administrator of Jhe Estate of Teresa Norris


                                                 BY:
                                                       Johnj^Bingham, Esd., BPR6263

                                                 Attorne^ for Plaintiffs

                                                 HAWKINS BINGHAM & MILLER, PC
                                                 1397 E. Center Street
                                                 Kingsport, TN 37664

                                                 423-246-9100 telephone
                                                 423-246-9282 facsimile




Case 2:12-cv-00415-JRG-DHI Document 1 Filed 10/11/12 Page 9 of 9 PageID #: 9
